   Case: 1:12-cv-08551 Document #: 1 Filed: 10/24/12 Page 1 of 5 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JAMES HARRIS,                                )
                                             )
               Plaintiff,                    )
                                             )
               v.                            )       No. 12-cv-8551
                                             )
UNIVERSITY OF CHICAGO, and                   )
University of Chicago Police Officer         )
Sergeant DAVID DAVIS,                        )
                                             )
               Defendants.                   )       JURY DEMANDED

                                       COMPLAINT

NOW COMES the plaintiff, JAMES HARRIS, through one of his attorneys, Jared

Kosoglad, Jared S. Kosoglad, P.C., and complaining of the defendants UNIVERSITY OF

CHICAGO, and UNIVERSITY OF CHICAGO POLICE OFFICER DAVID DAVIS,

states as follows:

                                   INTRODUCTION

   1. This is a civil action seeking damages against defendants for committing acts

       under color of law, and depriving plaintiff of rights secured by the Constitution

       and laws of the United States.

                                    JURISDICTION

   2. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

       U.S.C., § 1983; the judicial code 28 U.S.C., § 1331 and 1343 (a); the Constitution

       of the United States; and pendent jurisdiction as provided under U.S.C., §

       1367(a).




                                            1
Case: 1:12-cv-08551 Document #: 1 Filed: 10/24/12 Page 2 of 5 PageID #:2



                                    PARTIES

3. Plaintiff is a citizen of the United States of America, who at all times relevant

   resided in Chicago, Cook County, Illinois.

4. Defendant David Davis, was, at the time of this occurrence, a duly licensed

   University of Chicago Police Officer. He engaged in the conduct complained of

   in the course and scope of his employment and under color of law. He is sued in

   his individual capacity.

5. Defendant University of Chicago, (“University”) was a private educational

   institution that maintained, managed, and/or operated the University of Chicago

   Police Department and was the employer and principal of the police officer

   defendants. At all times relevant, the State of Illinois delegated the public

   functions traditionally performed by exclusively municipal police officers and

   county sheriffs, state actors, to the University of Chicago.

                                      FACTS

6. On October 24, 2010, at or near 6300 South Ingleside Avenue at approximately

   3:25 p.m., Plaintiff James Harris encountered University of Chicago Police

   Department Sergeant David Davis.

7. Without probable cause or any other legal basis, Defendant Davis seized the

   Plaintiff’s person.

8. Without probable cause or any other legal basis, Defendant Davis employed

   excessive, unnecessary, and unreasonable force against the Plaintiff.

9. Defendant Davis did not charge Plaintiff with a crime.




                                         2
   Case: 1:12-cv-08551 Document #: 1 Filed: 10/24/12 Page 3 of 5 PageID #:3



    10. As a direct and proximate result of the malicious actions of Defendant Davis,

         Plaintiff was injured, including loss of freedom, humiliation, embarrassment, the

         deprivation of his constitutional rights and his dignity, physical injuries, lost time,

         and emotional distress.

                                     Count I
        Section 1983 Fourth Amendment Violations —Illegal Search and Seizures

    11. Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

    12. The searches and seizures of the plaintiff’s person and property performed

         willfully and wantonly by the Defendant, as detailed above, were in violation of

         plaintiff’s right to be free of unreasonable searches and seizures under the Fourth

         Amendment to the Constitution of the United States and 42 U.S.C. § 1983.

    13. As a proximate result of the above-detailed actions of defendants, plaintiff was

         injured, including the deprivation of his liberty and the taking of his person. In

         addition, the violations proximately caused the plaintiff mental anguish,

         embarrassment, and humiliation, exposed him to public scandal and disgrace, and

         caused him to incur various expenses, all to Plaintiff’s damage.

WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendant for compensatory damages, punitive damages, the costs of this action and

attorneys’ fees, and any such other and further relief as this Court deems equitable and

just.

                                         Count II
                   42 U.S.C. Section 1983 Violations — Excessive Force

    14. Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

    15. The actions of the Officer Defendant constituted unreasonable, unjustifiable, and



                                                3
   Case: 1:12-cv-08551 Document #: 1 Filed: 10/24/12 Page 4 of 5 PageID #:4



        excessive force against Plaintiff, thus violating his rights under the Fourth

        Amendment to the United States Constitution, and 42 U.S.C., Section 1983.

    16. As a proximate result of the above-detailed actions of defendant, Plaintiff was

        injured, including severe pain, physical injury, mental suffering, anguish and

        humiliation, and fear.

WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendant for compensatory damages, punitive damages, the costs of this action and

attorneys’ fees, and any such other and further relief as this Court deems equitable and

just.

                                        Count III
                                   Respondeat Superior

    17. Plaintiff realleges each of the preceding paragraphs, as if fully set forth herein.

    18. Defendant University of Chicago is the employer of Defendant Officer David

        Davis.

    19. Defendant Officer committed the acts alleged above under color of law and in the

        scope of their employment as employees of the University of Chicago.

WHEREFORE, should Defendant Officer be found liable on one or more of the claims

set forth above, Plaintiff demands that, pursuant to 745 ILCS 10/9-102, the Defendant

University of Chicago be found liable for any judgment plaintiff obtains against said

defendant, as well as attorneys fees and costs awarded.




                                              4
  Case: 1:12-cv-08551 Document #: 1 Filed: 10/24/12 Page 5 of 5 PageID #:5



PLAINTIFF DEMANDS TRIAL BY JURY.


Respectfully submitted,

JAMES HARRIS

By:

___/s Jared S. Kosoglad____________
One of Plaintiff’s Attorneys

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                                      5
